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    7
    8                     UNITED STATES DISTRICT COURT
    9        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   10   NOAH POLLAK, on behalf of all      CASE NO. 2:24-CV-06253-SVW-
   11
        others similarly situated, and     PVC
        STANDWITHUS CENTER FOR LEGAL Assigned for all purposes to:
   12   JUSTICE,                           Honorable Stephen V. Wilson
   13
                   Plaintiffs,
                                           MEMORANDUM OF POINTS
   14   vs.                                AND AUTHORITIES IN
   15
                                           SUPPORT OF DEFENDANT
        CODEPINK WOMEN FOR PEACE, a        HONOR THE EARTH’S MOTION
   16   California entity; CODEPINK ACTION TO STRIKE AND DISMISS
   17   FUND, a California entity; WESPAC  PLAINTIFFS’ FIRST AMENDED
        FOUNDATION, a New York entity;     CLASS ACTION COMPLAINT
   18   HONOR THE EARTH, a Minnesota
   19   entity; COURTNEY LENNA SCHIRF;     Hearing Date: April 28, 2025
        REMO IBRAHIM, d/b/a PALESTINIAN Time:            1:30 p.m.
   20   YOUTH MOVEMENT; PALESTINIAN Dept.: Courtroom 10A
   21   YOUTH MOVEMENT; and DOES #1-
        100,                               FAC Filed: December 19, 2024
   22              Defendants.             Trial Date: Not Set
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    2        DEFENDANT HONOR THE EARTH’S MOTON TO STRIKE AND
    3           DISMISS PLAINTIFFS’ FIRST AMENDED CLASS ACTION
    4                                       COMPLAINT
    5                                 I.     INTRODUCTION
    6         Honor the Earth (“HTE”) received notification from the Northwest Registered
    7   Agent that it had accepted service in this matter on March 10, 2025. A Summons
    8   dated January 31, 2025, which HTE did not previously receive, was filed with the
    9   Northwest Registered Agent. The Summons included the First Amended Complaint
   10   (“FAC”). HTE was not served with the original Complaint. HTE is, however, a
   11   named defendant in another matter arising out of the same alleged events, in which
   12   there have also been multiple iterations of the allegations. See Ronen Helmann, et
   13   al. v. Codepink Women ror Peace, Case No. 2:24-C-05704-SVW-PVC. Notably,
   14   this FAC recites allegations almost verbatim from the other matter and specifically
   15   relies upon facts pertaining to Ronan Helmann, the putative class representative in
   16   the other matter. Despite multiple opportunities to amend Complaints, running up
   17   exorbitant legal costs for entities at best peripherally related to the event in question,
   18   Plaintiffs remain unable to establish either a claim upon which relief can be granted
   19   or personal jurisdiction over HTE. Once again, HTE respectfully requests that the
   20   Court strike the allegations against it within the FAC under Fed. R. Civ. P. 12(f) and
   21   dismiss the FAC under Fed. R. Civ. P. 12(b)(2) and (6).
   22         The allegations put forth by Plaintiffs NOAH POLLAK, STANDWITHUS
   23   CENTER FOR LEGAL JUSTICE, and the putative class members (collectively
   24   herein, “Plaintiffs”) are both scandalous and speculative and should be stricken.
   25   With respect to the relationships between Jews, Judaism, the State of Israel, and
   26   Palestine, Plaintiffs’ allegations reflect a willful misunderstanding of the complexity
   27                                  1
   28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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    1   and diversity of viewpoints that can and do coexist, and which, in the United States,
    2   individuals have a Constitutional right to express. Although the FAC casts protestors
    3   as violent through its liberal employment of such terms as “attack,” “mob,” and
    4   “riot” to describe the gathering that occurred, this tactic does not change reality or
    5   diminish the freedom of speech protected by the First Amendment. Plaintiffs also
    6   attempt to attack Defendants through irrelevant allegations, often ostensibly
    7   supported by biased references. A cursory examination reveals that such allegations
    8   are often distorted from or inconsistent even with these references. Moreover,
    9   character is not at issue in this case, and even if there were credible evidence to
   10   support these attacks on Defendants, it would be inadmissible under Fed. R. Evid.
   11   404(a)(1). All such allegations should be struck pursuant to Fed. R. Civ. P. 12(f).
   12         The FAC is fatally flawed with respect to HTE because this Court lacks
   13   personal jurisdiction over HTE, which is a Minnesota registered nonprofit
   14   corporation with a Minnesota address and Minnesota registered agent. The FAC is
   15   devoid of any allegations that HTE itself committed any act or omission inside, or
   16   having an effect in, the State of California. Plaintiffs improperly rely on third party
   17   interpretations of Internal Revenue Service regulations pertaining to Section
   18   501(c)(3) status and case law addressing disputes arising directly out of fiscal
   19   sponsorship agreements that have no bearing here. Plaintiffs’ generic allegations
   20   regarding fiscal sponsorship of the Palestinian Youth Movement (“PYM”) fail to
   21   establish personal jurisdiction over HTE or any liability on HTE’s part for events it
   22   did not fund, oversee, or plan—events that, to the extent of any promotion by HTE,
   23   were not advertised in a way that encouraged or condoned unlawful behavior.
   24         In addition to the deficiency that personal jurisdiction over HTE has not been
   25   and cannot be established, the FAC should be dismissed on the grounds of failure to
   26   state a claim upon which relief may be granted. First, the FAC fails to state a claim
   27                                  2
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    1   generally in that the requirements for class action certification are unmet. Plaintiffs’
    2   allegations do not establish that they are similarly situated and fall far short of
    3   satisfying the commonality, numerosity, typicality, and adequacy of representation
    4   prerequisites of Fed. R. Civ. P. 23(a). Second, the FAC specifically fails to state a
    5   claim upon which relief may be granted against HTE because it does not allege facts
    6   that, if true, would demonstrate that every element of either claim is met with respect
    7   to HTE. Plaintiffs’ attempt to implicate HTE is tenuous, and the FAC is devoid of
    8   factual allegations that HTE committed any of the unlawful acts alleged in the FAC.
    9   Accordingly, the FAC should be dismissed with prejudice as to HTE.
   10                          II.    STATEMENT OF THE CASE
   11         The FAC alleges that there was an “antisemitic riot outside the Adas Torah
   12   Synagogue . . . on June 23, 2024,” and that all named Defendants, including HTE,
   13   “incited scores of individuals . . . to terrorize Jewish congregants outside their
   14   Synagogue.” Despite naming HTE, the FAC lacks any facts showing that HTE did
   15   incite or terrorize anyone. The FAC alleges further that access to the Synagogue
   16   was blocked and that some Jewish congregants were bear sprayed that day. The
   17   FAC alleges that the named Defendants conspired and acted in concert to deprive
   18   Plaintiffs of their right to practice their religion. Critically, the FAC acknowledges
   19   or cites sources that acknowledge that some statements issued after the event report
   20   that the protestors experienced physical assault and attacks with bear spray and that
   21   the entrance to the Synagogue was never blocked. Indeed, the FAC’s own allegations
   22   and sources appear to reveal that individuals of many persuasions were present that
   23   day for a variety of reasons and that there was no monolith on either, or, more
   24   accurately, any side. See, e.g., Pls.’ FAC at ¶ 230 (using “Jews who had arrived to
   25   provide support for their fellow worshippers” as a euphemism for counter
   26   protesters).
   27                                  3
   28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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    1         Plaintiffs bring two (2) claims against HTE: (1) threatening and intimidating
    2   persons in violation of the Freedom of Access to Clinic Entrances or “FACE” Act,
    3   18 U.S.C. § 248(a)(2) and (2) conspiracy to deprive Plaintiffs of equal protection of
    4   the laws and equal privileges and immunities under the law in violation 42 U.S.C. §
    5   1985(3).
    6                 III.   DEFENDANT HTE’S MOTION TO STRIKE
    7         Federal Rule of Civil Procedure 12(f) provides that a Court “may strike from
    8   a pleading . . . any redundant, immaterial, impertinent, or scandalous matter.” “The
    9   grounds for a motion to strike must appear on the face of the complaint or from
   10   matter which the court may judicially notice . . . .” Stearns v. Select Comfort Retail
   11   Corp., 763 F. Supp. 2d 1128, 1139 (N.D. Cal. 2010); see also SEC v. Sands, 902 F.
   12   Supp. 1149, 1165 (C.D. Cal. 1995). “[T]he function of a 12(f) motion to strike is to
   13   avoid the expenditure of time and money that must arise from litigating spurious
   14   issues by dispensing with those issues prior to trial. . . . ” Sidney-Vinstein v. A.H.
   15   Robins Co., 697 F.2d 880, 885 (9th Cir. 1983).
   16        Here, the FAC is replete with such scandalous terms as “attack,” “mob,” and
   17   “riot” to describe the gathering of individuals and Defendants’ alleged involvement.
   18   See, e.g., Pls.’ FAC ¶¶ 2, 6, 7. Nebulous descriptions obscure the actors in the
   19   allegations. For example, Plaintiffs’ FAC at ¶ 7 alleges in relevant part that “some
   20   in the mob (including Does #1-100) bear sprayed and attacked Jewish congregants
   21   and others present.” The so-called “mob” is not and cannot be defined to include
   22   only the Defendants and those who allegedly attended at their behest, and the phrase
   23   “and others present” is employed to avoid the reality that those who allegedly
   24   engaged in violence may have included affiliates of the Plaintiffs, and those who
   25   were allegedly harmed may have included affiliates of the Defendants. See also Pls.’
   26   FAC at ¶ 230. This tactic prevents HTE from meaningfully responding to the factual
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    1   allegations because they are phrased so that Plaintiffs’ desired legal conclusions are
    2   embedded therein. See Stearns, 763 F. Supp. 2d at 1145 (“A trial judge has the
    3   authority to strike pleadings that are ‘false and sham.’”) (citation omitted).
    4        Plaintiffs also allege that “all Defendants . . . incited scores of individuals . . .
    5   to terrorize Jewish congregants outside their Synagogue[,]” Plaintiffs’ FAC at ¶ 5,
    6   but they fail to plead that HTE did anything amounting to incitement of anyone to
    7   do anything or that HTE planned to commit an unlawful act or agreed with others to
    8   do so. Plaintiffs’ bare assumptions about funding and blatant conflation of any
    9   opinion that could be construed as critical of Israel with endorsement of antisemitism
   10   and violence are deliberately inflammatory rhetorical maneuvering—nothing more.
   11   For example, the allegations regarding the use of inverted red triangles in Plaintiffs’
   12   FAC ¶¶ 217-219 do not follow from the sources cited and must be stricken.
   13   Compare, e.g., Pls.’ FAC at ¶ 219 (“the inverted red triangle acts as a target
   14   designator to identify Jews and Jewish targets for extermination”) with Pls.’ FAC at
   15   ¶ 219 n.68 (citing a source that states that the inverted red triangle “can be used
   16   innocuously in general pro-Palestine social media posts”). See Stearns, 763 F. Supp.
   17   2d at 1145.
   18        Plaintiffs further allege various Defendants took certain actions on dates
   19   unrelated to the Plaintiffs’ instant claims. See generally, e.g., Pls.’ FAC §§
   20   “PARTIES” and “COMMON FACTUAL ALLEGATIONS.” Litigation of these
   21   irrelevant details would consume significant time and resources. Moreover,
   22   introducing evidence for the purpose of arguing that such allegations, if true, mean
   23   the Defendants took similar actions on the date in question is impermissible. Fed.
   24   R. Evid. 404(a)(1).
   25        The Court should strike all such portions of the FAC. Many of the portions
   26   that should be struck specifically and explicitly concern HTE (e.g., Pls.’ FAC ¶¶
   27                                  5
   28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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    1   138, 140-54), and others have the potential to prejudicially impact HTE by virtue
    2   of the structure of the claims against Defendants collectively.
    3                IV.    DEFENDANT HTE’S MOTION TO DISMISS
    4   A.    Lack of Personal Jurisdiction Under Fed. R. Civ. P. 12(b)(2)
    5         This Court lacks personal jurisdiction over HTE. Rule 12(b)(2) allows a
    6   Defendant to move to dismiss a complaint for lack of personal jurisdiction. Fed. R.
    7   Civ. P. 12(b)(2). When a defendant files a motion to dismiss, the plaintiff then has
    8   the burden to demonstrate proper jurisdiction. Schwarzenegger v. Fred Martin
    9   Motor Co., 374 F.3d 797, 800 (9th Cir. 2004) (citing Sher v. Johnson, 911 F.2d 1357,
   10   1361 (9th Cir. 1990)).
   11         “There are two limitations on a court’s power to exercise personal jurisdiction
   12   over a nonresident defendant: the applicable state personal jurisdiction rule and
   13   constitutional principles of due process.” Sher, 911 F.2d at 1360. California’s
   14   jurisdictional statute is coextensive with the federal due process requirements and as
   15   such, jurisdictional questions under state law and federal due process standards are
   16   accomplished under one analysis. Daimler AG v. Bauman, 571 U.S. 117, 125
   17   (2014); Rano v. Sipa Press, Inc., 987 F.2d 580, 587 (9th Cir. 1993); see also Cal.
   18   Civ. Proc. Code § 410.10. Exercising jurisdiction over a nonresident defendant
   19   violates the due process clause protections unless the defendant has “minimum
   20   contacts” with the forum state so that the exercise of jurisdiction “does not offend
   21   ‘traditional notions of fair play and substantial justice.’” Int'l Shoe Co. v.
   22   Washington, 326 U.S. 310, 316 (1945) (citation omitted); see also Loomis v.
   23   Slendertone Distrib., Inc., 420 F. Supp. 3d 1046, 1064 (S.D. Cal. 2019).
   24         Here, the Plaintiffs’ erroneously claim personal jurisdiction over HTE based
   25   on an attenuated theory of specific jurisdiction that does not withstand scrutiny.
   26   There are no allegations that HTE did anything beyond enter into a fiscal sponsorship
   27                                  6
   28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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    1   agreement with PYM. While Plaintiffs put forth a vague allegation that HTE “is
    2   responsible for the promotion and funding that resulted in the violent riot that
    3   blocked the entrance to the Synagogue[,]” (Pltfs’ FAC at ¶ 153), they never allege
    4   that HTE actually received any funds on behalf of PYM, provided the same to PYM,
    5   or used the same in connection with this event. A review of the allegations
    6   demonstrates that the Plaintiffs cannot show personal jurisdiction over HTE.
    7         In California, specific jurisdiction is analyzed using a three-prong test:
    8         (1) the nonresident defendant must purposefully direct [its] activities
    9         or consummate some transaction with the forum or a resident thereof;
   10         or perform some act by which [it] purposefully avails [itself] of the
   11         privilege of conducting activities in the forum, thereby invoking the
   12         benefits and protections of its laws; (2) the claim must be one which
   13         arises out of or relates to the defendant’s forum-related activities; and
   14         (3) the exercise of jurisdiction must comport with fair play and
   15         substantial justice, i.e. it must be reasonable.
   16   Lake v. Lake, 817 F.2d 1416, 1421 (9th Cir. 1987). The party invoking the Court’s
   17   jurisdiction must meet each of these conditions. See Insurance Co. of N. Am. v.
   18   Marina Salina Cruz, 649 F.2d 1266, 1270 (9th Cir. 1981); Loomis, 420 F. Supp. 3d
   19   at 1067.
   20         1.     Purposeful Direction
   21         A plaintiff can satisfy the first element in the analysis by showing that the
   22   defendant “purposefully directed” its conduct toward the forum state, or
   23   “purposefully availed” itself of the privilege of doing business in the forum.
   24   Schwarzenegger, 374 F.3d at 802. As set forth in Calder v. Jones, 465 U.S. 783
   25   (1984), the “effects” test . . . requires that ‘the defendant allegedly must have (1)
   26   committed an intentional act, (2) expressly aimed at the forum state, (3) causing
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    1   harm that the defendant knows is likely to be suffered in the forum state.’”
    2   CollegeSource, Inc. v. AcademyOne, Inc., 653 F.3d 1066, 1077 (9th Cir.) (citations
    3   omitted); see Loomis, 420 F. Supp. 3d at 1067.
    4         “Intentional act” means “an intent to perform an actual, physical act in the
    5   real world, rather than an intent to accomplish a result or consequence of that act.”
    6   Schwarzenegger, 374 F.3d at 806; Loomis, 420 F. Supp. 3d at 1068. Here, the only
    7   allegation tying HTE to PYM is the fact that HTE had been engaged to assist with
    8   fundraising capacity for PYM. The FAC lacks any allegations demonstrating how
    9   HTE’s assistance with fundraising activities evinces an intent to perform an actual,
   10   physical act in the State of California. As such, no “intentional act” can be
   11   demonstrated sufficient to accomplish personal jurisdiction.
   12         “Express aim” requires a plaintiff to prove that the effects caused by the
   13   defendant’s conduct (the plaintiff’s injury), “connected the [defendant’s] conduct to
   14   California, not just to a plaintiff who lived there.” Walden v. Fiore, 571 U.S. 277,
   15   288 (2014). “A plaintiff does not show express aiming by alleging injuries that are
   16   ‘entirely personal to him and would follow him wherever he might choose to live or
   17   travel’ and ‘not tethered to California in any meaningful way.’” Graco Minnesota
   18   Inc. v. PF Brands, Inc., No. 18-CV-1690-WQH-AGS, 2019 WL 1746580, at *4
   19   (S.D. Cal. Apr. 17, 2019). Here, the Plaintiffs’ only allegation in support of personal
   20   jurisdiction is that they encountered personal damages. The FAC iterates the
   21   personal damages allegedly suffered by the Plaintiffs at the hands of unknown and
   22   unnamed actors. Nothing within the FAC demonstrates that HTE caused any injury
   23   connected to the State of California.
   24         “Foreseeable harm” means that a defendant causes “harm that the defendant
   25   knows is likely to be suffered in the forum state.” CollegeSource, Inc., 653 F.3d at
   26   1078. Here, again, the only allegation concerning HTE is that it agreed to assist with
   27                                  8
   28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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    1   fundraising for PYM. Importantly, HTE is incorporated in the State of Minnesota,
    2   HTE has its place of business in the State of Minnesota, and its registered agent is
    3   located in the State of Minnesota. Nothing about HTE’s connection to PYM evinces
    4   the foreseeability that unknown actors would decide to unleash bear spray upon
    5   random members of the public in the State of California. As such, the Plaintiffs have
    6   failed to provide any facts demonstrating the needed “foreseeable harm” element for
    7   personal jurisdiction.
    8         2.     Arises Out of the Activities
    9         “A claim arises out of a defendant’s conduct if the claim would not have arisen
   10   ‘but for’ the defendant’s forum-related contacts.” Loomis, 420 F. Supp. 3d at 1070-
   11   71 (quoting Panavision Int’l L.P. v. Toeppen, 141 F.3d 1316, 1322 (9th Cir. 1998)).
   12   Again, the FAC lacks any facts showing that HTE had any “forum-related”
   13   activities. Further, the actions of unknown individuals in converging in Los Angeles
   14   and spraying random members of the public with bear spray are completely
   15   unrelated to the HTE’s fundraising assistance to PYM, and the FAC fails to
   16   demonstrate otherwise.
   17         3.     Reasonableness of Jurisdiction
   18         The reasonableness of jurisdiction element is only considered once the
   19   plaintiff satisfies the first two prongs of the personal jurisdiction test. See Loomis,
   20   420 F.3d at 1071. As set forth above, the Plaintiffs fall woefully short of meeting
   21   any of the elements to demonstrate personal jurisdiction, and, as such, jurisdiction
   22   in the State of California remains unreasonable and improper.
   23         Based on the foregoing, this Court lacks personal jurisdiction over HTE, and,
   24   accordingly, HTE should be dismissed from this suit.
   25   B.    Failure to State a Claim Under Fed. R. Civ. P. 12(b)(6)
   26         Dismissal under Federal Rule of Civil Procedure 12(b)(6) is appropriate when
   27                                  9
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    1   a “complaint lacks a cognizable legal theory or sufficient facts to support a
    2   cognizable legal theory.” Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097,
    3   1104 (9th Cir. 2008). “To survive a motion to dismiss, a complaint must contain
    4   sufficient factual matter . . . to ‘state a claim to relief that is plausible on its face.’”
    5   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550
    6   U.S. 544, 570 (2007)). “[A] plaintiff’s obligation to provide the ‘grounds’ of his
    7   ‘entitle[ment] to relief’ requires more than labels and conclusions, and a formulaic
    8   recitation of the elements of a cause of action will not do[.]” Twombly, 550 U.S. at
    9   555 (2007).
   10          “[C]onclusory allegations of law and unwarranted inferences are insufficient
   11   to defeat a motion to dismiss[.]” Adams v. Johnson, 355 F.3d 1179, 1183 (9th Cir.
   12   2004); see also Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011) (“[A]llegations
   13   in a complaint or counterclaim may not simply recite the elements of a cause of
   14   action, but must contain sufficient allegations of underlying facts to give fair notice
   15   and to enable the opposing party to defend itself effectively.”). “[T]he court need
   16   not accept conclusory allegations, allegations contradicted by exhibits attached to
   17   the complaint or matters properly subject to judicial notice, unwarranted deductions
   18   of fact or unreasonable inferences.” Villamor v. Madera Cnty. Sheriff Dept., No.
   19   1:12-cv-00644-AWI-MJS, 2013 WL 566385, at *1 (E.D. Cal. Jan. 11, 2013) (citing
   20   Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010)). In reviewing
   21   a 12(b)(6) motion to dismiss, “a court can take judicial notice of matters of public
   22   record and of documents whose contents are alleged in the complaint and whose
   23   authenticity no party questions, but which are not physically attached to the
   24   pleading.” Loomis, 420 F. Supp 3d at 1062 (internal quotation marks and citations
   25   omitted).
   26

   27                                  10
   28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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    1   C.    Failure to State a Claim for Class Action Certification
    2         Plaintiffs bear the burden of demonstrating that the proposed class satisfies all
    3   requirements of Federal Rule of Civil Procedure 23 (“Rule 23”). Ibe v. Jones, 836
    4   F.3d 516, 528 (5th Cir. 2016).       To maintain a class action, a plaintiff must
    5   affirmatively demonstrate compliance with Rule 23. Wal-Mart Stores, Inc. v. Dukes,
    6   564 U.S. 338, 250 (2011). Under Rule 23(a), the plaintiff must establish (1)
    7   numerosity, (2) commonality, (3) typicality, and (4) adequacy of representation.
    8   Additionally, if seeking monetary damages, the plaintiff must satisfy the
    9   predominance and superiority requirements of Rule 23(b)(3). Ibe, 836 F.3d at 528.
   10        1.    Numerosity
              Courts have determined that the failure to affirmatively demonstrate
   11
        numerosity is fatal to a plaintiff’s motion for class certification under Fed. R. Civ.
   12
        P. 23. Pagan v. Abbott Laboratories, Inc., 287 (E.D.N.Y. 2012) (citing Spread
   13
        Enterprises, Inc. v. First Data Merchant Services Corp., 298 F.R.D. 54, 72
   14
        (E.D.N.Y. 2014)). In Pagan, for instance, the plaintiffs attempted to establish
   15
        numerosity based solely on the thousands of recall letters sent out concerning the
   16
        defendant’s product. However, there was no evidence presented to the court that all
   17
        of the recall letters that were sent out were to consumers who actually purchased the
   18
        product. Pagan, 287 F.R.D. at 147. Some were merely given samples of the
   19
        product. Id. Consequently, the court denied the motion for class certification,
   20
        specifying that numerosity cannot be established through assumptions or indirect
   21
        evidence but must be supported by concrete proof demonstrating the size of the class.
   22
        Id. at 148.
   23
              Likewise, Plaintiffs’ proposed method for asserting membership in the
   24
        putative class is overinclusive because it assumes that anyone who expressed interest
   25
        in attending an event would, but for the alleged activities of the Defendants,
   26

   27                                  11
   28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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    1   inevitably attend the event. Within the Plaintiffs’ own allegations, they admit that
    2   some individuals heard about the activity outside of the Synagogue secondhand. See
    3   Pls.’ FAC at ¶ 16 (“Upon seeing or being notified of Defendants’ riot, other members
    4   of the Proposed Class were intimidated from even approaching the Synagogue and
    5   were effectively forced from exercising their First Amendment right of religious
    6   freedom out of fear for their physical safety, since passage to and from the
    7   Synagogue was rendered unreasonably difficult or hazardous.”). This invalidates the
    8   claim that every individual that signed up for the event and every member of the
    9   Synagogue would have attended the event but for the activities outside of the
   10   Synagogue because it assumes the apprehension allegedly experienced by each
   11   putative class member was uniformly reasonable. Yet, some were “notified” by a
   12   third party, whose subjective perception and description of difficulty or hazard is not
   13   something Defendants influenced. Therefore, Plaintiffs have failed to meet their
   14   burden to affirmatively demonstrate numerosity, and the class action certification
   15   must be denied under Federal Rules of Civil Procedure.
   16         2.     Commonality
   17         Even assuming that Plaintiffs have met Rule 23(a)(1)’s numerosity
   18   requirement, Plaintiffs’ motion for class certification would still fail, because the
   19   Plaintiffs have not satisfied the commonality requirement of Rule 23(a)(2). Fed. R.
   20   Civ. P. 23(a)(2). The Supreme Court has ruled that to satisfy the requirement of
   21   commonality, plaintiffs must show that class members suffered the same specific
   22   injury, not just a violation of the same legal provision. Spread Enterprises, Inc. v.
   23   First Data Merchant Services Corp., 298 F.R.D. 54, 67 (E.D.N.Y. 2014)) (citing
   24   Wal-Mart Stores Inc. v. Dukes, 564 U.S. 338, 350 (2011)).
   25         In Pagan, the plaintiffs sought to establish commonality by showing that all
   26   class members purchased the defective product. Pagan, 287 F.R.D. at 149.
   27                                  12
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    1   However, since only 1% of the products sold were defective, it was unlikely that
    2   most class members were personally affected or harmed. Id. As a result, the court
    3   denied class certification. Id.
    4         Similarly, the Plaintiffs argue that the putative class members share common
    5   legal and factual questions, asserting that all members suffered the same injury.
    6   However, this claim lacks factual basis, as the class includes individuals with
    7   differing reasons for entering or attempting to enter the synagogue, some for prayer
    8   services and others for a real estate event, and some whose alleged plans to enter or
    9   attend changed upon “notification” by a third person, not directly as a result of the
   10   events. These differing motivations undermine the assertion of a uniform injury,
   11   making commonality unattainable. As in Pagan, merely showing that individuals
   12   expressed interest in the real estate event or entered or attempted to enter the
   13   synagogue does not prove they all shared the same reasons or beliefs. It is a
   14   significant leap to assume they all suffered the same injury, or any injury at all, based
   15   solely on these actions. Therefore, Plaintiffs have failed to meet their burden to
   16   affirmatively demonstrate commonality, and certification of the class action must be
   17   denied under Federal Rules of Civil Procedure.
   18         3.     Typicality
   19         The Plaintiffs have also failed to meet the typicality requirement under Rule
   20   23(a)(3), largely for the same reasons they did not satisfy the commonality
   21   requirement. The commonality and typicality requirements often overlap, as both
   22   assess whether maintaining a class action is efficient and whether the named
   23   plaintiff’s claims are sufficiently aligned with those of the class to ensure fair
   24   representation. Pagan, 287 F.R.D. at 150 (citing Wal-Mart Stores Inc. v. Dukes, 564
   25   U.S. 338, 377 n. 5 (2011)).
   26         In Pagan, the court explained that some class members had not purchased the
   27                                  13
   28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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    1   defective product sold by the defendant. Pagan, 287 F.R.D. at 150. As a result,
    2   those individuals could not have experienced the same type of injury as the class
    3   members who had purchased the defective product. Id. Consequently, the court
    4   denied the motion to certify the class, concluding that the typicality requirement was
    5   not met. Id.
    6            Similar to Pagan, where the court found significant differences among class
    7   members that defeated typicality, the current case also reveals variations in the
    8   circumstances, motivations, and experiences of those allegedly harmed,
    9   undermining the assertion of identical harm across the class. Plaintiffs assert that all
   10   putative class members suffered the same harm, specifically, that they attempted to
   11   enter the synagogue, but their attempts were obstructed by the defendants’ actions.
   12   See Pls.’ FAC at ¶ 351. However, this claim lacks support, as the evidence and
   13   allegations suggest significant variations in the circumstances, motivations, and
   14   experiences of those present, undermining the assertion of identical harm across the
   15   class.    For instance, some accounts indicate that certain Jews arrived to support
   16   fellow worshippers, further highlighting the diverse reasons for attendance and
   17   undermining the claim of identical harm across the class. See Pls.’ FAC at ¶ 230.
   18   Additionally, some members of the putative class did enter the Synagogue, and not
   19   all members were bear sprayed, further highlighting the lack of uniform injury
   20   among the class members. Therefore, class action certification must be denied due
   21   to the lack of typicality within the putative class, as the members do not share similar
   22   purported injuries.
   23            4.    Adequacy of Representation
   24            The adequacy requirement under Rule 23(a) mandates that the interests of the
   25   class representatives align with those of the absent class members. Fed. R. Civ. P.
   26   23(a)(4). However, Plaintiffs merely reference the general standard articulated in the
   27                                  14
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    1   rule and provides a bare recital of its elements, without demonstrating how the
    2   Plaintiffs’ interests are substantively aligned with those of the putative class.
    3         Furthermore, the claims set forth in the Plaintiffs’ FAC would actually support
    4   the proposition that the Plaintiffs interests are not aligned with the putative class
    5   members. The putative class definition is overly broad, encompassing individuals
    6   who may have participated in the activity outside of the synagogue, thereby creating
    7   a conflict of interest within the proposed class. The burden rests on the Plaintiff to
    8   demonstrate that the interests of the proposed class do not conflict with those of the
    9   Plaintiff and that all the prerequisites set forth in Rule 23 are satisfied. Fed. R. Civ.
   10   P. 23(a)(4). Since the plaintiff has not demonstrated that the putative class meets the
   11   elements of Rule 23(a), the motion to certify the class must be denied.
   12         5.     Federal Rules of Civil Procedure 23(b) Requirements
   13         Not only does the putative class fail to satisfy the prerequisites, but it is a poor
   14   fit with any of the categories of classes. Under Rule 23(b)(1), there is no risk that by
   15   not certifying the putative class members, that an incompatible standard of conduct
   16   for HTE will be established. The two claims outlined in the FAC establish the
   17   standards for calculating damages. There is nothing novel about the methodology
   18   required to determine the damages incurred, nor is there any issue necessitating the
   19   court’s intervention to resolve potential variances. Moreover, the alleged damages
   20   do not present any unique characteristics that would render a uniform approach to
   21   their calculation impractical or impossible. Therefore, Plaintiff failed to meet the
   22   requirement of Rule 23(b)(1) and the class cannot be certified on this basis.
   23         Based on the allegations, Plaintiff has failed to show that the Defendants acted
   24   on that grounds that apply generally to the class because, as argued above, the class
   25   combines putative members who were allegedly present to attend the real estate
   26   event with those there for other reasons, those who allegedly were deterred from
   27                                  15
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    1   attending either the event or prayer services, and those who successfully entered the
    2   Synagogue for one purpose or another. A reasonableness analysis is required to
    3   evaluate Plaintiffs’ claims, and the different circumstances various Plaintiffs were in
    4   becomes a necessary consideration. Therefore, Plaintiff failed to meet the
    5   requirement of Rule 23(b)(2) and the class cannot be certified on this basis.
    6         The putative class is not cohesive enough to be certified. “Common questions
    7   of law and fact predominate when issues subject to generalized proof and applicable
    8   to the class as a whole predominate over and are more substantial than issues that
    9   are subject only to individualized proof.” Pagan, 287 F.R.D. at 147 (citing Myers v.
   10   Hertz Corp., 624 F.3d 537, 547 (2nd Cir. 2010)). Here, generalized proof would not
   11   be applicable across the various class members, as questions of law and fact
   12   regarding interference with practice of religion vary wildly. If Plaintiffs were
   13   somehow able to substantiate a claim based on a set of facts applicable to one class
   14   member it would be procedurally unfair to allow all class members to benefit
   15   financially from a set of facts, they would not be able to individually prove.
   16         Furthermore, certifying the putative class is not a superior method of
   17   adjudication. It is merely an opportunistic attempt to seek a share of prospective
   18   damages to be awarded without having suffered—and dodging the burden to prove
   19   having suffered—legally cognizable harm. As Plaintiffs have satisfied neither the
   20   prerequisites of Fed. R. Civ. P. 23(a) nor the specific requirements of Fed. R. Civ.
   21   P. 23(b), the Court must not certify the class.
   22   D.    Failure to State a Claim for Count I: 18 U.S.C. § 248(a)(2)
   23         Plaintiffs have failed to state a claim under 18 U.S.C. § 248(a)(2), which
   24   prohibits a person from “by force or threat of force or by physical obstruction,
   25   intentionally   injures,     intimidates or    interferes      with   or   attempts   to
   26   injure, intimidate or interfere with any person lawfully exercising or seeking to
   27                                  16
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    1   exercise the First Amendment right of religious freedom at a place of religious
    2   worship[.]”
    3         In this context, physical obstruction is defined as “rendering impassable
    4   ingress to or egress from a facility that provides reproductive health services or to or
    5   from a place of religious worship, or rendering passage to or from such a facility or
    6   place of religious worship unreasonably difficult or hazardous.” 18 U.S.C. §
    7   248(e)(4). Intimidate means “to place a person in reasonable apprehension of bodily
    8   harm to him- or herself or to another.” 18 U.S.C. § 248(e)(3). Interfere with means
    9   “to restrict a person’s freedom of movement.” 18 U.S.C. § 248(e)(2).
   10         Reasonableness is key to the construction of this statute. Moreover, 18 U.S.C.
   11   § 248(d)(1) expressly provides that the statute shall not be construed “to prohibit any
   12   expressive conduct (including peaceful picketing or other peaceful demonstration)
   13   protected from legal prohibition by the First Amendment to the Constitution.” For
   14   purposes of 18 U.S.C. § 248, whether a statement is considered a “threat” “is
   15   governed by an objective standard–whether a reasonable person would foresee that
   16   the statement would be interpreted by those to whom the maker communicates the
   17   statement as a serious expression of intent to harm or assault.” Muskan Food &
   18   Fuel, Inc. v. City of Fresno, 284 Cal. Rptr. 3d 453, 466 (Cal. Ct. App. 2021) (citing
   19   Planned Parenthood of the Columbia/Willamette, Inc. v. Am. Coal. of Life Activists,
   20   290 F.3d 1058, 1074 (9th Cir. 2002)).
   21         Here, the FAC lacks any factual allegations that HTE did anything by force
   22   or threat of force to any of the Plaintiffs or promoted any activity outside those
   23   expressly excluded from the statute’s reach, namely peaceful demonstration. 18
   24   U.S.C. § 248(d)(1). The only factual information concerning HTE within the FAC
   25   is that it served as a fiscal sponsor for PYM and promoted the event. Nothing about
   26   this information includes an expression by HTE of an intent to harm or assault
   27                                  17
   28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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    1   anyone. The allegations regarding the use of inverted red triangles in Pls.’ FAC ¶¶
    2   217-219 do not follow from the sources cited. Compare, e.g., Pls.’ FAC at ¶ 219
    3   (“the inverted red triangle acts as a target designator to identify Jews and Jewish
    4   targets for extermination”) with FAC at ¶ 219 n.68 (citing a source that states that
    5   the inverted red triangle “can be used innocuously in general pro-Palestine social
    6   media posts”). The Court does not have to accept the thinly veiled assumptions in
    7   these allegations when their inaccuracy is belied by the Plaintiffs’ own source. See
    8   Villamor v. Madera Cnty. Sheriff Dept., No. 1:12-cv-00644-AWI-MJS, 2013 WL
    9   566385, at *1 (E.D. Cal. Jan. 11, 2013).
   10         As Plaintiffs have failed to allege sufficient facts to support a cognizable
   11   theory that HTE violated 18 U.S.C. § 248(a)(2), said claim should be dismissed as
   12   to HTE.
   13   E.    Failure to State a Claim for Count II: 42 U.S.C. § 1985(3)
   14         Plaintiffs fail to allege facts that support a claim against HTE under 42 U.S.C.
   15   § 1985(3). “[42 U.S.C.§ 1985(3)] prohibits conspiracies to deprive a person of equal
   16   protection of the laws. In order to state a claim under § 1985(3), plaintiff must
   17   establish that a conspiracy existed to deprive him of equal protection of the law and
   18   that the conspiracy was based on discriminatory hostility toward the protected
   19   class.” Wilkins v. Gonzales, No. 2:16-cv-0347 KJM KJN P, 2017 WL 1192106 at
   20   *1 (E.D. Cal. Mar 30, 2017) (citing Nielson v. Legacy Health Sys., 230 F. Supp. 2d
   21   1206, 1210 (D. Ore. 2011); Usher v. Los Angeles, 828 F.2d 556, 561 (9th Cir. 1987))
   22   (emphasis added).
   23         Here, Plaintiffs fail to state a colorable conspiracy claim under § 1985(3)
   24   because they: (1) fail to allege facts demonstrating that HTE conspired with anyone
   25   to deprive any Plaintiffs of the equal protection of the law; (2) fail to allege any facts
   26   demonstrating that HTE conspired for anyone to wear a mask, as opposed to a
   27                                  18
   28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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    1   keffiyeh, a cultural garment that identifies rather than obscures the identity of the
    2   wearer; (3) fail to allege facts demonstrating that HTE committed any acts based
    3   upon antisemitism or a discriminatory hostility toward Jewish people, and in fact
    4   admit that “not all Jews adhere to the above concepts and beliefs”; and (4) fail to
    5   allege facts demonstrating that HTE committed any act which caused injury to any
    6   Plaintiff. Again, the only factual allegation against HTE is that it served as a fiscal
    7   sponsor of PYM.
    8         The FAC alleges that the real estate event was religious in nature and part of
    9   a “religious commandment to emigrate to Israel” while admitting it was “host[ed]”
   10   by “a real-estate company known as ‘My Home in Israel . . . .’” See Pls.’ FAC at ¶
   11   200 (emphasis added). The FAC exalts the real estate event without acknowledging
   12   that other perspectives on the history of conflict between Israel and Palestine are
   13   allowed in secular society.     By further failing to acknowledge the distinction
   14   between the real estate event and ordinary religious activities, Plaintiffs seek to
   15   expand their revised claims to cover more and different individuals. See Pls.’ FAC
   16   at ¶ 335 and Fed. R. Civ. P. 12(b)(6) argument, supra. But in so doing, they advance
   17   an internally inconsistent theory. The Plaintiffs’ allegations in the FAC make clear
   18   that, regardless of Plaintiffs’ purported beliefs, it was the “real estate” aspect that
   19   prompted expression of different views. See, e.g., Pls.’ FAC ¶¶ 200-213. HTE
   20   should not be a party to this case at all for the reasons noted above, nor does it follow
   21   from the allegations in the FAC that HTE was involved with any conspiracy to
   22   interfere or act of interference with anyone’s religious freedom. Plaintiffs have not
   23   established and cannot establish that “discriminatory animus for the Jewish faith” is
   24   inherently present in, much less at the heart of, opposition to a real estate event
   25   focused on sales in a controversial region of the world.
   26   ///
   27                                   19
   28     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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    1          As Plaintiffs have failed to allege sufficient facts to support a cognizable
    2   theory that HTE violated 42 U.S.C. § 1985(3), said claim should be dismissed as to
    3   HTE.
    4                                  V.     CONCLUSION
    5          Based on the foregoing, Defendant Honor the Earth requests that the Court
    6   grant its Motion to Strike and Dismiss the Plaintiffs’ First Amended Class Action
    7   Complaint as to Defendant Honor the Earth. Defendant Honor the Earth requests
    8   that it be dismissed from this matter without leave to amend, as amendment would
    9   be futile.
   10                                                  Respectfully Submitted,
   11   Dated: March 31, 2025                          ZAVALA LAW GROUP, P.C.
   12

   13                                                       /s/ Joe Inumerable
                                                       __________________________
   14                                                  JOE INUMERABLE, Esq.
                                                       Attorney for Defendant
   15                                                  HONOR THE EARTH
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   28    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
           STRIKE AND DISMISS FIRST AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-06253-SVW-PVC        Document 125-1        Filed 03/31/25    Page 26 of 26 Page
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